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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
ABBEY HOTEL ACQUISITION, LLC, SETAI
HOTEL ACQUISITION, LLC, SETAI RESORT
AND RESIDENCE CONDOMINIUM
ASSOCIATION, INC, and SETAI VALET
SERVICES, LLC,

                                   Plaintiffs,
                 -against-                                                  21 CIVIL 3506 (VEC)

                                                                              JUDGMENT
NATIONAL SURETY CORPORATION,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated October 1, 2021, the impact of COVID-19 on

Plaintiffs’ businesses is deeply unfortunate. But in the face of the plain language of the contract,

and the insurmountable weight of the case law, it is clear that Plaintiffs have not stated and

cannot state a claim. For that reason, Defendant's motion to dismiss is GRANTED, and Plaintiffs'

claim is dismissed with prejudice.

Dated: New York, New York

          October 1, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
